           Case 1:12-cv-00862-LY Document 30-4 Filed 11/06/12 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

UNITED STATES COMMODITY                         §
FUTURES TRADING COMMISSION,                     §
                                                §
                      Plaintiff,                §
                                                §
v.                                              §       Civil Action No. A-12-CV-0862-LY
                                                §
SENEN POUSA, INVESTMENT                         §
INTELLIGENCE CORPORATION,                       §
DBA PROPHETMAX MANAGED FX,                      §
JOEL FRIANT, MICHAEL DILLARD, and               §
ELEVATION GROUP, INC.,                          §
                                                §
                      Defendants.               §

                  ORDER GRANTING RECEIVER’S UNOPPOSED
           MOTION FOR APPROVAL OF FIRST INTERIM FEE APPLICATION

        Before the Court is the Receiver’s Unopposed Motion for Approval of First Interim Fee

Application and Brief in Support (“Motion”). Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds that the time spent, services

performed, hourly rates charged, and expenses incurred by the Receiver and his retained

professionals were reasonable and necessary for the Receiver to perform his Court-ordered

duties. The Court concludes that the Motion should be, and is hereby, GRANTED.

        It is therefore ORDERED that payment in the amount of $_________________ for

services rendered from September 18, 2012 through September 30, 2012 is approved.

        SIGNED this                 day of                      , 2012.




                                                    LEE YEAKEL
                                                    UNITED STATES DISTRICT JUDGE


ORDER GRANTING RECEIVER’S UNOPPOSED MOTION
FOR APPROVAL OF FIRST INTERIM FEE APPLICATION
